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 3 Telephone: (916) 447-0160

 4
   Attorney for:
 5 MARIA ESCAMILLA LOPEZ

 6                              IN THE UNITED STATES DISTRICT COURT

 7                                 EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                         CASE NO. 19-0231 WBS

10                                Plaintiff,           STIPULATION AND PROPOSED ORDER TO
                                                       AUTHORIZE DEFENDANT TO TRAVEL
11                         v.                          (AMENDED).

12   MARIA ESCAMILLA LOPEZ,
                         Defendants
13

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15

16                                              STIPULATION

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18          Plaintiff United States of America, by and through its counsel of record, Timothy Delgado, and

19 Defendant Maria Escamilla Lopez, represented by Attorney Dina Santos; hereby stipulate as follows:

20          Ms. Escamilla Lopez will be allowed to travel to Modesto, California, on January 25, 2020, to

21 attend her son’s soccer playoff match which will be held at Mary Grogan Community Park, 3601 Litt

22 Road, Modesto, California. Ms. Escamilla Lopez will leave her home at 9:30 a.m. and must return

23 home before 8:30 p.m. Pretrial Services has been notified and has no objection to the request.

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25          IT IS SO STIPULATED.

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             Case 2:19-cr-00231-WBS Document 81 Filed 01/17/20 Page 2 of 2


 1 Dated: January 17, 2020                       McGregor Scott
                                                 United States Attorney
 2

 3                                               /s/ Timothy Delgado
                                                 TIMOTHY DELGADO
 4                                               Assistant United States Attorney

 5

 6 Dated: January 17, 2020                    /s/ Dina L. Santos
                                              DINA L. SANTOS, ESQ.
 7
                                              Attorney for Maria Escamilla Lopez
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                                          ORDER
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           IT IS SO FOUND AND ORDERED
12
     Dated: January 16, 2020
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